  Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 1 of 33 PageID #:653




                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS


GABRIELLE STUVE, JESSICA NICODEMO,               Case No. 1:21-CV-01845
KELLY TARANTINO, MICHELLE
FRANCIONE, LANA MOSKOWITZ, AARON
                                                 The Hon. Rebecca R. Pallmeyer
CLARKE, and MICHELLE DEVERA, on
behalf of themselves and all others similarly
situated,

              Plaintiffs,

       vs.

THE KRAFT HEINZ COMPANY a/k/a
KRAFT HEINZ FOODS COMPANY,

              Defendant.


 MEMORANDUM OF LAW IN SUPPORT OF THE KRAFT HEINZ COMPANY’S
   MOTION TO DISMISS CONSOLIDATED CLASS ACTION COMPLAINT

                                                JENNER & BLOCK LLP


                                                Dean N. Panos
                                                dpanos@jenner.com
                                                Thomas E. Quinn
                                                tquinn@jenner.com
                                                353 N. Clark Street
                                                Chicago, IL 60654
                                                Tel.: (312) 222-9350

                                                -and-

                                                Kate T. Spelman (pro hac vice)
                                                kspelman@jenner.com
                                                Alexander M. Smith
                                                asmith@jenner.com
                                                515 South Flower Street, Suite 3300
                                                Los Angeles, CA 90071
                                                Tel.: (213) 239-5100

                                                Attorneys for Defendant
                                                The Kraft Heinz Company
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 2 of 33 PageID #:654




                                                     TABLE OF CONTENTS

INTRODUCTION ...........................................................................................................................1

BACKGROUND .............................................................................................................................3

        I.      Phthalates Are Common Chemicals, Which the FDA Expressly Permits in
                Food Contact Applications and Which Pose No Health Hazards in Trace
                Levels. ............................................................................................................................3

        II.     Plaintiffs Challenge the Alleged Presence of Phthalates in Kraft Mac &
                Cheese. ...........................................................................................................................4

ARGUMENT ...................................................................................................................................6

        I.      Plaintiffs’ Claims Are Preempted Because the FDA Permits Phthalates in
                Food Contact Applications and Regards Them as Safe. ................................................6

        II.     Plaintiffs’ Failure-to-Disclose Claims Are Both Preempted and Implausible. ............10

                  A. Plaintiffs’ failure-to-disclose claims are preempted because they seek to
                     impose disclosure requirements that are not imposed by federal law. ...............11

                  B. Plaintiffs’ failure-to-disclose claim also fails because the alleged
                     presence of phthalates is not material to reasonable consumers. ........................14

        III.    Plaintiffs’ Claims Based on Alleged Misrepresentations Are Not Actionable. ...........18

                  A. “The Taste You Love,” “Gooey, Cheesy Goodness,” and “The Part of
                     Parenting That’s Impossible to Mess Up” are non-actionable puffery. ..............19

                  B. The alleged presence of phthalates does not render the truthful “NO
                     Artificial _____” statements on the packaging false or misleading. ..................21

                  C. Plaintiffs cannot challenge the statements on Kraft Heinz’s website
                     because they do not allege that they visited or relied on that website. ...............23

        IV. Plaintiffs’ Breach of Warranty and Unjust Enrichment Claims Also Fail...................24

CONCLUSION ..............................................................................................................................25




                                                                         i
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 3 of 33 PageID #:655




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

Adkins v. Nestle Purina PetCare Co.,
   973 F. Supp. 2d 905 (N.D. Ill. 2013) .......................................................................................20

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) .................................................................................................................18

Axon v. Citrus World, Inc.,
   354 F. Supp. 3d 170 (E.D.N.Y. 2018) .....................................................................................22

Axon v. Florida’s Natural Growers, Inc.,
   814 F. App’x 701 (2d Cir. 2020) .............................................................................................18

Backus v. Biscomerica Corp.,
   378 F. Supp. 3d 849 (N.D. Cal. 2019) .......................................................................................9

Beardsall v. CVS Pharmacy, Inc.,
   953 F.3d 969 (7th Cir. 2020) ...................................................................................................19

Becerra v. Dr. Pepper/Seven Up, Inc.,
   945 F.3d 1225 (9th Cir. 2019) ...........................................................................................17, 18

Berry v. Budget Rent A Car Sys., Inc.,
   497 F. Supp. 2d 1361 (S.D. Fla. 2007) ....................................................................................24

Bildstein v. MasterCard Int’l, Inc.,
    329 F. Supp. 2d 410 (S.D.N.Y. 2004)......................................................................................14

In re Bisphenol-A (BPA) Polycarbonate Plastic Prods. Liab. Litig.,
    No. 08-1967, 2009 WL 3762965 (W.D. Mo. Nov. 9, 2009) .............................................12, 13

Brodsky v. Aldi Inc.,
   No. 20-7632, 2021 WL 4439304 (N.D. Ill. Sept. 28, 2021) ....................................................25

Brownmark Films, LLC v. Comedy Partners,
   682 F.3d 687 (7th Cir. 2012) .....................................................................................................4

Catalano v. BMW of N. Am., LLC,
   167 F. Supp. 3d 540 (S.D.N.Y. 2016)......................................................................................25

Chavez v. Church & Dwight Co.,
   No. 17-1948, 2018 WL 2238191 (N.D. Ill. May 16, 2018) .....................................................23




                                                                    ii
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 4 of 33 PageID #:656




Chi. Faucet Shoppe, Inc. v. Nestle Waters N. Am., Inc.,
   24 F. Supp. 3d 750 (N.D. Ill. 2014) ...................................................................................11, 13

Cleary v. Philip Morris Inc.,
   656 F.3d 511 (7th Cir. 2011) ...................................................................................................24

Decker v. Mazda Motor of Am., Inc.,
   No. 11-873, 2013 WL 12129281 (C.D. Cal. Mar. 29, 2013)...................................................15

Galanis v. Starbucks Corp.,
   No. 16-4705, 2016 WL 6037962 (N.D. Ill. Oct. 14, 2016) .....................................................18

Geier v. Am. Honda Motor Co.,
   529 U.S. 861 (2000) ...................................................................................................................7

In re Gen. Mills Glyphosate Litig.,
    No. 16-2869, 2017 WL 2983877 (D. Minn. July 12, 2017) ..............................................15, 22

In re Gen. Motors Corp. Anti-Lock Brake Prods. Liab. Litig.,
    966 F. Supp. 1525 (E.D. Mo. 1997).........................................................................................25

George v. Starbucks Corp.,
   857 F. App'x 705 (2d Cir. 2021) ........................................................................................21, 22

George v. Starbucks Corp.,
   No. 19-6185, 2020 WL 6802955 (S.D.N.Y. Nov. 19, 2020).............................................21, 22

Goldemberg v. Johnson & Johnson Consumer Cos.,
   8 F. Supp. 3d 467 (S.D.N.Y. 2014) .........................................................................................23

&,6617 9# *43/02>; %24-,2 ))$,
   No. 19-2249, 2020 WL 4336390 (E.D.N.Y. July 20, 2020)....................................................19

Harris v. Topco Assocs., LLC,
   538 F. Supp. 3d 826 (N.D. Ill. 2021) .......................................................................................11

Hawkins v. Kellogg Co.,
  224 F. Supp. 3d 1002 (S.D. Cal. 2016) ......................................................................................9

Johnson v. Organo Gold International, Inc.,
   No. 15-390, 2016 WL 2771124 (D. Del. May 13, 2016) ........................................................13

Jonathan Pepper Co. v. Hartford Cas. Ins. Co.,
   381 F. Supp. 2d 730 (N.D. Ill. 2005) .......................................................................................16

Kennedy v. Covidien, LP,
   No. 18-1907, 2019 WL 1429979 (S.D.N.Y. Mar. 29, 2019) ...................................................24




                                                                    iii
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 5 of 33 PageID #:657




(0330/: 9# *43/02>; %24-,2 ))$,
   No. 19-302, 2020 WL 4006197 (E.D.N.Y July 10, 2020).......................................................24

In re KIND LLC “Healthy & All Natural” Litig.,
    --- F. Supp. 3d ----, 2022 WL 4125065 (S.D.N.Y. Sept. 9, 2022) ...........................................17

Lateef v. Pharmavite LLC,
   No. 12-5611, 2012 WL 5269619 (N.D. Ill. Oct. 24, 2012) .....................................................12

Lugones v. Pete & Gerry’s Organic, LLC,
   440 F. Supp. 3d 226 (S.D.N.Y. 2020)......................................................................................20

Manley v. Hain Celestial Grp., Inc.,
  417 F. Supp. 3d 1114 (N.D. Ill. 2019) ...............................................................................14, 25

Nemphos v. Nestle Waters North America, Inc.,
   775 F.3d 616 (4th Cir. 2015) ...............................................................................................9, 10

Notification Techs., Inc. v. Parlant Tech., Inc.,
   No. 05-89, 2005 WL 8173034 (S.D. Cal. Jan. 27, 2005) ........................................................20

Pappas v. Pella Corp.,
   363 Ill. App. 3d 795 (2006) .....................................................................................................20

Parks v. Ainsworth Pet Nutrition, LLC,
   377 F. Supp. 3d 241 (S.D.N.Y. 2019)..........................................................................14, 15, 22

In re PepsiCo, Inc., Bottled Water Mktg. & Sales Practices Litig.,
    588 F. Supp. 2d 527 (S.D.N.Y. 2008)......................................................................................11

PETA v. Whole Foods Mkt. Cal., Inc.,
   No. 15-4301, 2016 WL 1642577 (N.D. Cal. Apr. 26, 2016) ...................................................20

Podpeskar v. Dannon Co.,
   No. 16-8478, 2017 WL 6001845 (S.D.N.Y. Dec. 3, 2017) .....................................................18

Puri v. Costco Wholesale Corp.,
   No. 21-1202, 2021 WL 6000078 (N.D. Cal. Dec. 20, 2021)...................................................18

Red v. Kraft Foods, Inc.,
   No. 10-1028, 2012 WL 5504011 (C.D. Cal. Oct. 25, 2012)....................................................23

Rollins, Inc. v. Butland,
   951 So. 2d 860 (Fla. Dist. Ct. App. 2006) ...............................................................................24

Sidco Prods. Mktg., Inc. v. Gulf Oil Corp.,
    858 F.2d 1095 (5th Cir. 1988) .................................................................................................25

+50.846 9# *43/02>; '38<2" '3.#,


                                                                 iv
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 6 of 33 PageID #:658




     178 F. Supp. 3d 657 (N.D. Ill. 2016) .......................................................................................24

Thompson v. Procter & Gamble Co.,
   No. 18-60107, 2018 WL 5113052 (S.D. Fla. Oct. 19, 2018) ..................................................20

Truxel v. Gen. Mills Sales, Inc.,
   No. 16-4957, 2019 WL 3940956 (N.D. Cal. Aug. 13, 2019) ..................................................21

Turek v. Gen. Mills, Inc.,
   662 F.3d 423 (7th Cir. 2011) .............................................................................................11, 13

Twohig v. Shop-Rite Supermarkets, Inc.,
   519 F. Supp. 3d 154 (S.D.N.Y. 2021)......................................................................................17

Union Pac. R. Co. v. Chicago Transit Auth.,
   647 F.3d 675 (7th Cir. 2011) .....................................................................................................6

USA Nutraceuticals Grp., Inc. v. BPI Sports, LLC,
  No. 15-80352, 2016 WL 4250668 (S.D. Fla. Apr. 12, 2016) ..................................................20

Viggiano v. Hansen Natural Corp.
   944 F. Supp. 2d 877 (C.D. Cal. 2013) .......................................................................................7

Weiss v. Gen. Motors LLC,
   418 F. Supp. 3d 1173 (S.D. Fla. 2019) ....................................................................................25

Weiss v. Kroger Co.,
   No. 14-3780, 2014 WL 5114608 (C.D. Cal. Aug. 8, 2014) ....................................................21

Young v. Johnson & Johnson,
   525 F. App’x 179 (3d Cir. 2013) .............................................................................................13

Yu v. Dr. Pepper Snapple Grp., Inc.,
   No. 18-6664, 2020 WL 5910071 (N.D. Cal. Oct. 6, 2020) .................................................9, 18

Statutes

21 U.S.C. § 343-1(a) ................................................................................................................11, 14

Other Authorities

21 C.F.R. § 100.1 ...........................................................................................................................11

21 C.F.R. § 101.100 .............................................................................................................2, 12, 13

21 C.F.R. § 175.105 .........................................................................................................................3

21 C.F.R. § 175.300 .........................................................................................................................3




                                                                      v
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 7 of 33 PageID #:659




21 C.F.R. § 176.170 .........................................................................................................................3

21 C.F.R. § 177.1010 .......................................................................................................................3

21 C.F.R. § 177.1200 .......................................................................................................................3

21 C.F.R. § 177.1210 .......................................................................................................................3

21 C.F.R. § 178.3740 ...............................................................................................................1, 3, 7




                                                                     vi
    Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 8 of 33 PageID #:660




                                          INTRODUCTION

       This lawsuit alleges that Kraft Mac & Cheese—a familiar, convenient, and affordable

comfort food that consumers have enjoyed for generations—is mislabeled because it purportedly

contains chemicals known as “phthalates,” which allegedly are not intentionally added but migrate

into the cheese powder during the manufacturing process. Based on their unfounded allegation

derived solely from testing a third party in Europe allegedly conducted five years ago showing that

the products tested contained trace phthalates, Plaintiffs claim Kraft Heinz misleads consumers

today by failing to disclose the supposed presence of phthalates on the packaging. Plaintiffs further

allege that a variety of labeling claims—such as “NO Artificial Dyes” and “gooey, cheesy

goodness”—suggest that Kraft Mac & Cheese is free of phthalates. These claims are both

preempted by federal law and implausible.

       At the outset, Plaintiffs’ lawsuit fails because the FDA has expressly authorized the use of

phthalates in food contact applications. See 21 C.F.R. § 178.3740 (permitting the use of phthalates

in substances used for “producing, manufacturing, packing, processing, preparing, treating,

packaging, transporting, or holding food”). The FDA has also rejected Plaintiffs’ assertion that

phthalates are unsafe at any level, and it has made clear that oral exposure to phthalates—such as

DEHP, one of the most common phthalates—is safe at levels far higher than those allegedly found

in Kraft Mac & Cheese. Critically, Plaintiffs do not allege that phthalates are an ingredient or that

Kraft Heinz intentionally adds them to Kraft Mac & Cheese. And even if Plaintiffs were correct

that the Kraft Mac & Cheese they personally purchased contained trace amounts of phthalates,

which they have not plausibly alleged, the FDA has rejected their core allegation that those levels

of phthalates are “unsafe” and “toxic.”




                                                 1
    Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 9 of 33 PageID #:661




       Indeed, Plaintiffs’ attempt to hold Kraft Heinz liable for failing to disclose the presence of

phthalates is preempted by federal law, as manufacturers need not disclose the presence of

“[s]ubstances migrating to food from equipment or packaging or otherwise affecting food that are

not food additives.” 21 C.F.R. § 101.100(a)(3)(iii). Plaintiffs concede that phthalates are not

ingredients or food additives that Kraft Heinz puts into Kraft Mac & Cheese, but instead substances

that “enter food during processing and packing.” Consol. Am. Class Action Compl. (“CAC”) ¶ 28.

Given Plaintiffs’ contention that the alleged phthalates must have migrated into Kraft Mac &

Cheese from manufacturing equipment and packaging, any attempt to require the disclosure of

phthalates would necessarily exceed the disclosure requirements imposed by federal law.

       Plaintiffs’ claims are not only preempted, but also meritless. Although Plaintiffs seek to

hold Kraft Heinz liable for failing to disclose the alleged presence of phthalates in Kraft Mac &

Cheese, they have not plausibly alleged that the supposed presence of trace phthalates is material

to a reasonable consumer, as Plaintiffs must allege to establish that Kraft Heinz was under a duty

to disclose. Plaintiffs allege that Kraft Heinz acknowledged the materiality of phthalates in the

Frequently Asked Questions page of the Kraft Mac & Cheese website, but that allegation grossly

mischaracterizes the contents of the website, in which Kraft Heinz maintains that the trace levels

of phthalates allegedly detected by one organization’s supposed testing are “well below any level

of concern.” And while Plaintiffs allege that they conducted a consumer survey that showed that

the presence of phthalates would be “important or very important” to 89.5% of consumers, that

purported survey does not salvage Plaintiffs’ unreasonable interpretation of the labeling.

       Plaintiffs cannot circumvent this result by framing this as a lawsuit premised on alleged

affirmative misrepresentations, as the labeling claims they challenge say nothing about the

presence or absence of trace phthalates. To the contrary, these statements—which have nothing




                                                 2
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 10 of 33 PageID #:662




to do with phthalates—are either true (e.g., “NO Artificial Preservatives”) or puffery (e.g., “gooey,

cheesy goodness”). And to the extent Plaintiffs challenge any statements on Kraft Heinz’s website,

those claims fail because they do not allege that they relied on—or even visited—that website.

        Plaintiffs’ core theories of deception are both implausible and preempted, and their tag-

along claims for breach of warranty and unjust enrichment are also independently defective. This

Court should dismiss their lawsuit with prejudice and without further leave to amend.

                                        BACKGROUND

I.      Phthalates Are Common Chemicals, Which the FDA Expressly Permits in Food
        Contact Applications and Which Pose No Health Hazards in Trace Levels.

        As the FDA has noted, phthalates “are a group of chemicals used in hundreds of products,

such as . . . food packaging, pharmaceuticals, blood bags and tubing, and personal care products.”

RJN Ex. 1. The FDA expressly permits their use in a wide variety of food manufacturing and
                        1
packaging applications. Indeed, the FDA has issued a regulation stating that certain substances,

including numerous phthalates, “may be safely used as plasticizers in polymeric substances used

in the manufacture of articles or components of articles intended for use in producing,

manufacturing, packing, processing, preparing, treating, packaging, transporting, or holding food.”

21 C.F.R. § 178.3740 (emphasis added).

        The FDA has not set a specific threshold for the level of phthalates allowed in food

products. See CAC ¶ 33. However, the FDA and other government agencies have repeatedly

concluded that trace amounts of phthalates are safe and pose no harm. For example, in assessing

the risks associated with plastics in medical devices, the FDA has concluded that, for oral exposure,


1
  See, e.g., 21 C.F.R. §§ 175.105 (“Adhesives”), 175.300 (“Resinous and Polymeric Coatings”),
176.170 (“Components of Paper and Paperboard in Contact with Aqueous and Fatty Foods”),
177.1010 (“Acrylic and Modified Acrylic Plastics, Semirigid and Rigid”), 177.1200
(“Cellophane”), 177.1210 (“Closures with Sealing Gaskets for Food Containers”).



                                                 3
      Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 11 of 33 PageID #:663




the “tolerable intake” of the phthalate Di(2-ethylhexyl)phthalate (“DEHP”) is approximately 0.04

mg/kg/day.     See RJN Ex. 2.      In other words, the “tolerable intake” of DEHP would be

approximately 2 milligrams per day for a smaller person who weighed 110 pounds, approximately

3 milligrams per day for a medium-sized person who weighed 165 pounds, or approximately 4

milligrams per day for a larger person who weighed 220 pounds. See id. Thus, the FDA recognizes

that trace amounts of phthalates do not present any health risks.

II.      Plaintiffs Challenge the Alleged Presence of Phthalates in Kraft Mac & Cheese.

         This lawsuit concerns the alleged presence of phthalates in Kraft Mac & Cheese, a well-

known comfort food sold in an iconic blue box and consumed by millions of Americans. See RJN

Ex. 3 (labeling of Kraft Mac & Cheese). Notably, the packaging does not state that Kraft Mac &

Cheese is “natural,” “unprocessed,” or free of phthalates. Instead, it highlights the product’s

cheesy flavor and notes that it has “The Taste You Love.” See id. The box also notes that the

product contains no artificial dyes, preservatives, or flavors. See id.

         Plaintiffs do not allege that the Kraft Mac & Cheese they personally purchased contained

any detectable amount of phthalates. Nor do they allege that they conducted any testing of their

own that confirmed the presence of phthalates in the products they purchased or any Kraft Mac &

Cheese product generally, or that even suggested that those products had an elevated risk of

containing phthalates. Instead, Plaintiffs rely on a 2017 report from the Coalition for Safer Food

Processing and Packaging, which “published a study . . . that tested, among other cheese products,

cheese powder in ten varieties of macaroni and cheese.” CAC ¶ 29; see also RJN Ex. 4.2



2
 Because Plaintiffs repeatedly cite the Coalition’s study and rely on it as the basis for their claim
that Kraft Mac & Cheese contains phthalates, this Court can take judicial notice of the contents of
that study in ruling on this motion. See Brownmark Films, LLC v. Comedy Partners, 682 F.3d
687, 690 (7th Cir. 2012) (“It is well settled that in deciding a Rule 12(b)(6) motion, a court may



                                                  4
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 12 of 33 PageID #:664




       That study purported to find an average of 106 parts per billion (or .106 milligrams per

kilogram of dry product) of phthalates in the ten tested varieties of macaroni & cheese, with a

range between 34 and 218 parts per billion. See RJN Ex. 4. The study also purported to find that

DEHP was found more often, and at much higher concentrations, than other phthalates. See CAC

¶ 29. While the study did not state that it considered Kraft Mac & Cheese or identify the amount

of phthalates allegedly present in Kraft Mac & Cheese, Plaintiffs allege that the Coalition sent

Kraft Heinz a June 2017 letter regarding the presence of phthalates in Kraft Mac & Cheese, leading

Plaintiffs to speculate that the study included the product. See id. ¶¶ 30–31. And because Plaintiffs

did not conduct any testing of their own, Plaintiffs cannot conclusively assert that any testing—

including the tests the Coalition conducted four years before they filed this lawsuit in 2021—has

confirmed the presence of phthalates in Kraft Mac & Cheese

       Plaintiffs’ lawsuit rests on the premise that phthalates are “toxic industrial chemicals” that

are linked to a wide variety of alleged maladies, including reproductive organ damage, cancer,

asthma, allergies, and bronchial obstruction. Id. ¶¶ 9, 35. Although Plaintiffs do not allege that

they or their children suffered any adverse health consequences as a result of eating Kraft Mac &

Cheese, they claim that Kraft Heinz misleads consumers because it “never disclose[s] anything

about phthalates on the Products’ packaging.” Id. ¶ 32; see also id. ¶¶ 12-18 (referring to “material

omissions” on the packaging); id. ¶ 9 (“Kraft chose to omit any information about the presence (or

risk) of phthalates in the Kraft Mac & Cheese Products on the Product[s’] packaging.”).

       In addition to their omissions-based claims, Plaintiffs challenge various phrases on the

packaging of Kraft Mac & Cheese and on Kraft Heinz’s website—such as “NO Artificial Flavors,”




consider documents attached to a motion to dismiss . . . if they are referred to in the plaintiff’s
complaint and are central to his claim.”) (citation and internal quotation marks omitted).


                                                 5
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 13 of 33 PageID #:665




“NO Artificial Preservatives,” “NO Artificial Dyes,” “gooey, cheesy goodness,” and “the part of

parenting that’s impossible to mess up.” See id. ¶¶ 49–59. Notably, Plaintiffs do not allege that

any of these statements are actually false—for example, by alleging that the products contain

artificial flavors or that Kraft Mac & Cheese is not actually “cheesy” and “gooey.” Instead,

Plaintiffs allege that these statements are misleading because they “lead reasonable consumers to

believe that the Products are wholesome, safe, and healthy, and do not contain dangerous

chemicals or artificial substances, like phthalates.” Id. ¶¶ 51, 53; see also id. ¶ 58 (similar).

        Based on these allegations, Plaintiffs assert claims for “violations of multiple state

consumer fraud and deceptive business practice laws,” unjust enrichment, and breach of express

and implied warranty. Id. ¶¶ 70–118. Plaintiffs assert these claims on behalf of themselves and a

putative “multi-state Class” of California, Connecticut, Florida, Illinois, Massachusetts, Michigan,

Minnesota, Missouri, New Jersey, New York, and Washington consumers. Id. ¶ 61.

                                           ARGUMENT

I.      Plaintiffs’ Claims Are Preempted Because the FDA Permits Phthalates in Food
        Contact Applications and Regards Them as Safe.

        The core premise of Plaintiffs’ lawsuit is that, because phthalates are allegedly harmful to

human health, Kraft Heinz must disclose their supposed presence and purported risks on the

product packaging. See CAC ¶ 1 (“Phthalates are harmful chemicals, and their consumption

carries a risk of adverse health impacts.”); id. ¶ 38 (describing the allegedly “harmful and

dangerous effects of phthalates”). But Plaintiffs’ claims are preempted because they conflict with

the FDA’s determination that phthalates are safe for use in food contact applications.

        “[U]nder the Supremacy Clause, federal law ‘preempts state laws that interfere with, or are

contrary to, federal law.’” Union Pac. R. Co. v. Chicago Transit Auth., 647 F.3d 675, 678 (7th

Cir. 2011). To that end, the Supreme Court has held that state-law claims are preempted where



                                                  6
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 14 of 33 PageID #:666




the application of state law would “prevent or frustrate the accomplishment of a federal objective.”

Geier v. Am. Honda Motor Co., 529 U.S. 861, 873 (2000). Plaintiffs’ claims are accordingly

preempted if Kraft Heinz’s alleged conduct is “expressly permitted by FDA regulations.”

Viggiano v. Hansen Natural Corp., 944 F. Supp. 2d 877, 889 (C.D. Cal. 2013).

       Here, Plaintiffs allege that Kraft Mac & Cheese is unsafe because it allegedly contains trace

amounts of phthalates, which they repeatedly characterize as “dangerous” and “toxic.” But the

FDA has expressly permitted the use of phthalates in food contact applications, reflecting its

understanding that some amount of phthalates inevitably ends up in the food supply. See 21 C.F.R.

§ 178.3740. And while Plaintiffs claim that the FDA “has not set a standard for acceptable levels

of phthalates in food products” (CAC ¶ 33), it has determined that the risk associated with oral

exposure to phthalates is exceedingly low.

       Specifically, the FDA has found that the “tolerable intake” of the phthalate DEHP is 0.04

mg/kg/day, which would range between 2 and 4 mg per day of phthalates for adults who weigh

between 50 kilograms (roughly 110 pounds) and 100 kilograms (roughly 220 pounds). See RJN

Ex. 2. By comparison, the report Plaintiffs cite indicates that, of the 10 varieties of packaged

macaroni and cheese tested, the average concentration of phthalates in the cheese powder in all ten

products was 0.106 milligrams of all phthalates per kilogram of cheese powder. See RJN Ex. 4.

In other words, a box of Kraft Mac & Cheese, which contains 206 grams of product, would contain

0.0218 milligrams of phthalates if one assumed that the entire box consisted of cheese powder (as

opposed to pasta, which makes up the bulk of the weight and is not alleged to contain phthalates).

Even if the concentration of phthalates found in the cheese powder in Kraft Mac & Cheese were

218 milligrams per kilogram of product (the highest concentration found in the Coalition’s study),

a box of Kraft Mac & Cheese would contain only 0.0449 milligrams of phthalates.




                                                 7
    Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 15 of 33 PageID #:667




        That amount—the highest conceivable amount possible—is not remotely unsafe. At such

trace levels, an adult consumer would need to eat hundreds of servings per day of macaroni and

cheese to approach an unsafe level of phthalates.3 See RJN Ex. 5. But even if one drew all

conceivable assumptions in Plaintiffs’ favor, and even if one overlooked that the Coalition’s report

(i.e., the sole source of testing data plaintiffs identify) does not identify specifically Kraft Mac &

Cheese, the report itself proves that the alleged amount of phthalates in Kraft Mac & Cheese is

well below the “tolerable intake” of phthalates that the FDA has deemed safe:

       If one assumed that each 206-gram box of Kraft Mac & Cheese contained 0.0218

        milligrams of phthalates, a consumer could eat one hundred boxes (or three hundred

        servings) of Kraft Mac & Cheese per day and consume only 2.18 milligrams of phthalates.

        That is still far less than the “tolerable intake” of DEHP deemed safe in a 165-pound adult

        by the FDA (3 milligrams). See RJN Ex. 2.

       Following the same logic as above, if one assumed instead that each 206-gram box of Kraft

        Mac & Cheese instead contained 0.0449 milligrams of phthalates (the highest amount even

        remotely conceivable given the Coalition’s findings), a consumer could eat fifty boxes of

        Kraft Mac & Cheese (or 150 servings) each day and still ingest only 2.45 milligrams of

        phthalates. Again, that is less than the “tolerable intake” of DEHP deemed safe in a 165-

        pound adult (3 milligrams). See id.

Critically, these calculations grossly overstate the amount of phthalates allegedly present in Kraft

Mac & Cheese, as they assume that the entire box consists of cheese powder, rather than the pasta


3
  Even a child who weighed only 20 kilograms (roughly 44 pounds) would have a tolerable intake
of 0.80 milligrams of DEHP per day. See RJN Ex. 2. If one assumed that each box contained
0.0449 milligrams of phthalates, which is the highest conceivable amount based on the Coalition’s
report, that child would need to eat over seventeen boxes of Kraft Mac & Cheese each day—which
is physically impossible for a child that size—to exceed the tolerable intake of DEHP alone.



                                                  8
    Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 16 of 33 PageID #:668




that makes up the majority of the product’s weight.4 Nonetheless, even if one made that

assumption, the amount of phthalates in Kraft Mac & Cheese is far lower than the amount the FDA

regards as safe. Plaintiffs cannot simply ignore the FDA and seek to impose whatever standard

they wish existed. The alleged presence of trace amounts of phthalates does not render Kraft Mac

& Cheese “dangerous” or “toxic,” and Plaintiffs’ assertion to the contrary is preempted.

       Indeed, under similar circumstances, many courts have dismissed lawsuits premised on the

theory that trace amounts of a challenged chemical rendered a product “adulterated” or

“dangerous,” holding that those lawsuits sought to proscribe the use of substances permitted by

federal law. For example, several courts have dismissed false advertising lawsuits premised on

the allegation that a defendant’s products were “adulterated” because they contained partially

hydrogenated oils (“PHOs,” or trans fats), which are allegedly “dangerous” and “detrimental to

. . . health,” because “the use of PHO in food products was not prohibited by federal law during

the class period.” Backus v. Biscomerica Corp., 378 F. Supp. 3d 849, 851, 855-56 (N.D. Cal.

2019); see also, e.g., Hawkins v. Kellogg Co., 224 F. Supp. 3d 1002, 1012-13 (S.D. Cal. 2016).

Other courts have dismissed false advertising lawsuits alleging that the presence of pesticide

residue rendered a product “adulterated” when the federal government expressly permitted trace

amounts of those pesticide residues in food products.5 And in Nemphos v. Nestle Waters North

America, Inc., the Fourth Circuit affirmed the dismissal of a false advertising lawsuit challenging


4
  Plaintiffs allege that the phthalates in Kraft Mac & Cheese come from the cheese powder, rather
than the pasta that makes up the majority of the weight of Kraft Mac & Cheese. See CAC ¶ 30
(citing the Coalition’s finding that “[f]atty foods, including dairy products, appear[] to be the
greatest contributor of dietary exposure to phthalates”) (internal quotation marks omitted).
5
 See, e.g., Yu v. Dr. Pepper Snapple Grp., Inc., No. 18-6664, 2020 WL 5910071, at *6 (N.D. Cal.
Oct. 6, 2020) (“The FDA regulates acetamiprid like it does glyphosate: as pesticides, neither is
required to be disclosed on food labels, and the pesticides are allowed to be present in foods in
specified trace amounts . . . without the food being deemed unsafe or adulterated.”).



                                                9
      Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 17 of 33 PageID #:669




the presence of fluoride in the defendant’s bottled water. 775 F.3d 616, 617 (4th Cir. 2015). In so

holding, the court reasoned that the plaintiff’s failure-to-warn and false advertising claims were

preempted because they sought to hold the defendant liable for using allegedly “excessive”

amounts of fluoride, even though the plaintiff did “not allege that [the defendant’s] bottled water

products contained fluoride concentrations above the thresholds set by the FDA.” Id. at 624.

         Here, as in all these cases, Plaintiffs seek to impose liability on Kraft Heinz based on the

presence of phthalates—a substance that the FDA expressly authorizes for food contact

applications and deems safe at levels far higher than those allegedly found in Kraft Mac & Cheese.

Plaintiffs attempt to head off this argument by alleging that, “unlike other chemicals, phthalates

appear to have more serious effects at lower levels than at higher levels” and that the alleged harms

of phthalates do not increase in proportion to the alleged dose. CAC ¶ 34. But Plaintiffs’

counterintuitive allegation that “endocrine disruptors are different” (id.) cannot be squared with

the FDA’s determination that there is a “tolerable intake” of phthalates, which necessarily assumes

that the risks associated with phthalates are dose-dependent. See RJN Ex. 2.

         In short, Plaintiffs’ claim that the supposed presence of “phthalates” renders Kraft Mac &

Cheese “dangerous” is inconsistent with the FDA’s expressed view that phthalates—at least in

certain quantities—are safe and pose no health risks. That conflict renders Plaintiffs’ lawsuit both

preempted and implausible, and this Court should dismiss it.

II.      Plaintiffs’ Failure-to-Disclose Claims Are Both Preempted and Implausible.

         Even if one accepted the faulty premise that phthalates may be “dangerous,” Plaintiffs’

lawsuit is still fatally flawed. Their lawsuit is premised on the allegation that Kraft Heinz “fails to

disclose on its packaging that Kraft Mac & Cheese Products contain (or risk containing) dangerous

phthalates.” CAC ¶ 48.        To remedy this purported omission, Plaintiffs seek an injunction




                                                  10
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 18 of 33 PageID #:670




“requiring full disclosure of all such substances in Defendant’s marketing, advertising, and

packaging.” Id. ¶ 11. This theory cannot withstand dismissal.

        Plaintiffs’ claim, as well as the injunction they seek, is preempted by federal law, which

does not require the disclosure of phthalates or a warning about their purported risks. Moreover,

Plaintiffs’ failure-to-disclose claim independently fails because the supposed presence of

phthalates—particularly in trace amounts—is not material to reasonable consumers.

        A. Plaintiffs’ failure-to-disclose claims are preempted because they seek to impose
           disclosure requirements that are not imposed by federal law.

        To promote uniformity in food labeling, the Nutrition Labeling & Education Act (“NLEA”)

includes a broad express preemption provision directing that “no State or political subdivision of

a State may directly or indirectly establish . . . any requirement for . . . labeling of food . . . that is

not identical to the requirement[s]” imposed by federal law. 21 U.S.C. § 343-1(a). The phrase

“‘[n]ot identical to’ does not refer to the specific words in the requirement but instead means that

the State requirement directly or indirectly imposes obligations or contains provisions” that are

“not imposed by or contained in” or that “[d]iffer from those specifically imposed by or contained

in” the statute or the FDA’s implementing regulations. 21 C.F.R. § 100.1(c)(4).

        As the Seventh Circuit has made clear, Plaintiffs cannot argue their way around this

preemption provision by claiming their asserted claims are “consistent with the requirements

imposed by the Food, Drug, and Cosmetic Act,” because “consistency is not the test; identity is.”

Turek v. Gen. Mills, Inc., 662 F.3d 423, 427 (7th Cir. 2011). Put another way, “[s]tates can impose

requirements that are identical to those imposed by the FDCA, but not different from or more

burdensome than those requirements.” Harris v. Topco Assocs., LLC, 538 F. Supp. 3d 826, 831

(N.D. Ill. 2021) (citing Chi. Faucet Shoppe, Inc. v. Nestle Waters N. Am., Inc., 24 F. Supp. 3d 750,

758 (N.D. Ill. 2014)) (emphasis added); accord In re PepsiCo, Inc., Bottled Water Mktg. & Sales



                                                    11
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 19 of 33 PageID #:671




Practices Litig., 588 F. Supp. 2d 527, 532 (S.D.N.Y. 2008) (noting that “state law cannot impose

obligations beyond, or different from, what federal law requires”).

       Plaintiffs do not identify any FDA regulation requiring the disclosure of phthalates on food

labeling, because none exists. To the contrary, the FDA expressly exempts manufacturers from

having to disclose the presence of “[s]ubstances migrating to food from equipment or packaging

or otherwise affecting food that are not food additives as defined in section 201(s) of the act.” 21

C.F.R. § 101.100(a)(3)(iii); see Lateef v. Pharmavite LLC, No. 12-5611, 2012 WL 5269619, at *3

(N.D. Ill. Oct. 24, 2012) (holding that the defendant was “exempted from listing on the label the

presence of gelatin or animal-based by products because [those were] present in a small amount,

and [they] provide[d] ‘no technical or functional effect’ to the supplement”).

       Phthalates are a textbook example, as they are not added to food but instead most likely

migrate from plastics used in the agricultural, manufacturing, or packaging processes. Indeed,

Plaintiffs openly admit that phthalates “enter food during processing and packaging” and “escape[]

from food contact materials such as processing equipment and food packaging materials into the

cheese powder.” CAC ¶ 28. This admission is fatal for Plaintiffs, as the FDA specifically exempts

manufacturers from disclosing the presence of substances like phthalates that have migrated into

the food. As a result, Plaintiffs’ failure-to-disclose claims are squarely preempted, as they seek to

use state law to impose labeling requirements that federal law does not impose on Kraft Heinz.

       Under similar circumstances, courts around the country have dismissed claims premised

on a defendant’s failure to disclose trace amounts of chemicals in its products. For example, in In

re Bisphenol-A (BPA) Polycarbonate Plastic Products Liability Litigation, the plaintiffs alleged

that several manufacturers of infant formula had “misbranded” their products by failing to disclose

that they were packaged in canisters that contain bisphenol-A (“BPA”). No. 08-1967, 2009 WL




                                                 12
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 20 of 33 PageID #:672




3762965, at *5 (W.D. Mo. Nov. 9, 2009). The court held that this theory was preempted, as the

FDA had specifically declined to require manufacturers to disclose incidental additives like BPA

that have no technical or functional effect in the food. See id. (citing 21 C.F.R. § 101.100(a)(3)).

These claims were “expressly preempted,” the court explained, “because they would impose

disclosure requirements concerning BPA, the exact opposite” of what the regulation provided. Id.

       Similarly, in Johnson v. Organo Gold International, Inc., the plaintiffs alleged that the

defendant’s coffee contained a purportedly harmful substance (Ganoderma Lucidum) that the

defendant failed to disclose on the labeling of its coffee. No. 15-390, 2016 WL 2771124, at *1

(D. Del. May 13, 2016). The court held that the plaintiff’s failure-to-disclose theory was

preempted. In so holding, the court explained that the plaintiff’s failure-to-disclose theory

“directly conflicts with . . . federal labeling requirements, which only allow labeling of ingredient

amounts for nutrients or food components identified for disclosure by the FDA, which Ganoderma

Lucidum is not.” Id. at *3. Accordingly, the court concluded that “acceptance of Plaintiff’s . . .

theory would in effect enforce state law requirements that are not identical to the NLEA” and that

his failure-to-disclose theory was therefore preempted. Id. (citing Young v. Johnson & Johnson,

525 F. App’x 179 (3d Cir. 2013)) (internal quotation marks and alterations omitted).

       That reasoning applies with equal force here. It is beyond dispute that federal law does not

require Kraft Heinz to include an on-pack disclosure even if there were trace amounts of phthalates

in Kraft Mac & Cheese. And even if Plaintiffs subjectively believe that phthalates are “dangerous”

or harmful to human health, they cannot use state law to require “disclaimers” about the presence

of phthalates or to impose liability on Kraft Heinz for failing to disclose their presence to

consumers. Turek, 662 F.3d at 427; see also Chi. Faucet Shoppe, 24 F. Supp. 3d at 759 (“[S]tate

law cannot be used to fill what private litigants perceive to be gaps in the regulatory requirements




                                                 13
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 21 of 33 PageID #:673




imposed by federal law.”). Because the disclosure requirement Plaintiffs seek to impose under

state law is “not identical to” the labeling requirements imposed by federal law, their failure-to-

disclose claims are preempted. 21 U.S.C. § 343-1(a).

       B. Plaintiffs’ failure-to-disclose claim also fails because the alleged presence of
          phthalates is not material to reasonable consumers.

       To state a consumer fraud claim premised on an alleged omission, a plaintiff must plausibly

allege that the “omitted information was material”—i.e., that “a buyer would have acted differently

knowing the information.” Manley v. Hain Celestial Grp., Inc., 417 F. Supp. 3d 1114, 1118 (N.D.

Ill. 2019) (granting motion to dismiss ICFA claim premised on alleged omissions) (internal

quotation marks and alterations omitted); see also Bildstein v. MasterCard Int’l, Inc., 329 F. Supp.

2d 410, 414 (S.D.N.Y. 2004) (“A material claim is one that involves information that is important

to consumers and, hence, likely to affect their choice of, or conduct regarding, a product.”)

(citations and internal quotation marks omitted). Plaintiffs allege that the purported presence of

“dangerous phthalates” was material to them and is material to reasonable consumers. CAC ¶¶ 12–

18. But the remote risk associated with trace amounts of an allegedly “dangerous” substance is

not material to reasonable consumers—which is fatal to Plaintiffs’ failure-to-disclose claim.

       Parks v. Ainsworth Pet Nutrition, LLC, 377 F. Supp. 3d 241 (S.D.N.Y. 2019), is directly

on point. There, the plaintiff alleged that the defendant mislabeled its dog food as “natural,” even

though it contained trace amounts of the herbicide glyphosate. Id. at 244. The plaintiff claimed

that he was deceived because he “relied on the representation that the Products were ‘natural’ when

he purchased them” and “was willing to pay more for the Products because he expected them to

be free of pesticides and other unnatural chemicals.” Id. The court dismissed the plaintiff’s

lawsuit. In so holding, the court noted that the “presence of negligible amounts of glyphosate in a




                                                14
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 22 of 33 PageID #:674




dog food product that do[es] not have harmful, ‘toxic,’ or ‘carcinogenic’ effects is not likely to

affect consumers’ decisions in purchasing the product and is thus not material.” Id. at 248.

       Here, as in Parks, Plaintiffs cannot establish that the presence of phthalates—let alone the

supposed de minimis amounts allegedly present in Kraft Mac & Cheese—is material to reasonable

consumers. Given the ubiquity of phthalates (and the plastics from which they allegedly migrate),

no reasonable consumer would expect that a processed food product like Kraft Mac & Cheese is

completely free of trace amounts of any chemical residue—whether it is phthalates or some other

material. See, e.g., In re Gen. Mills Glyphosate Litig., No. 16-2869, 2017 WL 2983877, at *6 (D.

Minn. July 12, 2017) (“[I]t is not plausible to allege that the statement ‘Made with 100% Natural

Whole Grain Oats’ means that there is no trace glyphosate in Nature Valley Products or that a

reasonable consumer would so interpret the label. It would be nearly impossible to produce a

processed food with no trace of any synthetic molecule.”). Indeed, Plaintiffs’ allegations are even

weaker than those in Parks, as the labeling of Kraft Mac & Cheese does not claim it is “natural.”

       Moreover, while Plaintiffs claim that phthalates are “unsafe” and “dangerous,” courts have

made clear that there is “no duty to disclose a non-existent and hypothetical safety risk,” like the

purported risks associated with trace amounts of phthalates. Decker v. Mazda Motor of Am., Inc.,

No. 11-873, 2013 WL 12129281, at *8 (C.D. Cal. Mar. 29, 2013). Because Plaintiffs do not

plausibly allege that the trace amounts of phthalates allegedly present in Kraft Mac & Cheese pose

a safety risk (a premise the FDA has rejected), Plaintiffs have not alleged that the presence of

phthalates is material to reasonable consumers or that Kraft Heinz was under any duty to disclose

the presence of phthalates to consumers. Plaintiffs’ attempt to evade this result are unavailing.

       Plaintiffs first allege that, because Kraft Heinz addressed the Coalition’s report in the

“Frequently Asked Questions” section of the Kraft Mac & Cheese website, it “knows that its




                                                15
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 23 of 33 PageID #:675




consumers consider the question of phthalates in regard to food to be important information they

would want to know.” CAC ¶ 45. While Plaintiffs selectively cherry-pick several snippets from

this webpage in an effort to establish that Kraft Heinz has admitted that the presence of phthalates

is material to consumers (see id. ¶¶ 45-46), they omit the core of Kraft Heinz’s position:

       The safety of phthalates has been assessed by the US Food and Drug Administration
       and other authorities, such as the Centers for Disease Control. The trace levels of
       phthalates found in the one limited test of mac & cheese are well below any level
       of concern. Hundreds of servings of mac & cheese would need to be consumed
       daily over an entire lifetime in order to exceed levels determined as safe.

RJN Ex. 5 (emphasis added).

       Far from admitting that the presence of phthalates should be material to reasonable

consumers, Kraft Heinz expressly stated that the “trace levels of phthalates” allegedly detected by

the Coalition “are well below any level of concern”—i.e., that they should not be material. This

Court need not, and should not, accept Plaintiffs’ demonstrably false allegation that Kraft Heinz

admitted on its website that the presence of phthalates is material to consumers. See, e.g., Jonathan

Pepper Co. v. Hartford Cas. Ins. Co., 381 F. Supp. 2d 730, 732 (N.D. Ill. 2005) (“Documents

attached to a pleading which are inconsistent with the allegations pleaded may be considered as

part of the pleading and result in a plaintiff pleading himself out of court.”).

       Plaintiffs also allege that their “counsel conducted a survey of 400 adult consumers who

bought boxed macaroni and cheese within the past six months” and that “[t]he vast majority

(approximately 89.5%) answered that the presence or risk of even a very small amount of

phthalates in the boxed macaroni and cheese would be either important or very important to their

purchasing decisions.” CAC ¶ 47. But Plaintiffs do not attach the survey or the underlying

response data, and they allege virtually no facts about the survey. They do not describe the

questions posed to respondents, the survey methodology used to measure the “importance” of




                                                  16
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 24 of 33 PageID #:676




phthalates to respondents’ purchasing decisions, respondents’ preexisting awareness of phthalates,

or any other aspects of the survey design. And it is highly doubtful that the survey advised

respondents of the amounts of phthalates allegedly present in the product, the FDA’s determination

that trace amounts of phthalates are safe, or the fact that it would literally require a consumer to

eat hundreds of servings of Kraft Mac & Cheese each day to reach an “unsafe” level of phthalates.

       In similar product mislabeling cases, courts have routinely rejected consumer surveys that

are “biased and lead[] the consumer to select the answer preferred by plaintiffs.” In re KIND LLC

“Healthy & All Natural” Litig., --- F. Supp. 3d ----, 2022 WL 4125065, at *10 (S.D.N.Y. Sept. 9,

2022) (holding that a consumer survey was inadmissible because it was “plainly designed to

validate plaintiffs’ theory”); see also, e.g., Twohig v. Shop-Rite Supermarkets, Inc., 519 F. Supp.

3d 154, 164 (S.D.N.Y. 2021) (disregarding purported findings of survey “designed at the behest

of counsel” and finding it “sufficiently flawed that it does not contribute enough to render the

claims plausible”). Plaintiffs cannot avoid that result by simply omitting any details about the

methodology of the survey they engineered to reach the result they wanted.

       More fundamentally, a survey cannot transform a consumer’s unreasonable belief—such

as the assumption that a product does not contain phthalates unless they are disclosed on the

packaging—into a reasonable one. For example, in Becerra v. Dr. Pepper/Seven Up, Inc., the

complaint “summarize[d] the results of a 2018 survey of 400 California soft-drink consumers and

400 nationwide soft-drink consumers,” which purportedly showed that consumers understood the

term “diet soda” to mean that the drink would “either help them lose weight, or help maintain or

not affect their weight.” 945 F.3d 1225, 1230 (9th Cir. 2019). But as both the district court and

the Ninth Circuit concluded, the survey did not change the fact that “a reasonable consumer would

still understand ‘diet’ in this context to be a relative claim about the calorie or sugar content of the




                                                  17
    Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 25 of 33 PageID #:677




product,” rather than a claim about weight loss. Id. at 1231. The Ninth Circuit concluded that the

survey did “not shift the prevailing reasonable understanding of what reasonable consumers

understand the word ‘diet’ to mean or make plausible the allegation that reasonable consumers are

misled by the term ‘diet.’” Id. And many courts have agreed that “otherwise facially implausible

consumer deception claims cannot be redeemed by survey allegations alone.” Puri v. Costco

Wholesale Corp., No. 21-1202, 2021 WL 6000078, at *7 (N.D. Cal. Dec. 20, 2021).6

       Here too, Plaintiffs’ purported survey cannot salvage their implausible allegation that the

presence of phthalates is material to consumers—at least not in the trace amounts alleged to be

present in Kraft Mac & Cheese. Given the ubiquity of phthalates in society and the fact that

consumers have grown up eating Kraft Mac & Cheese for generations, common sense—which this

Court must apply in ruling on a motion to dismiss—dictates that the presence of trace amounts of

phthalates should not have any effect on a reasonable consumer’s decision to purchase Kraft Mac

& Cheese.7 The survey Plaintiffs allegedly conducted does nothing to change this outcome.

III.   Plaintiffs’ Claims Based on Alleged Misrepresentations Are Not Actionable.

       Plaintiffs also claim that the alleged presence of phthalates makes it misleading for Kraft

Heinz to use statements like “The Taste You Love,” “NO Artificial Dyes,” “NO Artificial

Flavors,” and “No Artificial Preservatives” on the packaging of Kraft Mac & Cheese. CAC ¶ 51.


6 See also, e.g., Axon v. Florida’s Natural Growers, Inc., 814 F. App’x 701, 704–05 (2d Cir. 2020)
(rejecting the plaintiff’s reliance on a consumer survey that did “not render [her] claims
plausible”); Yu, 2020 WL 5910071, at *5 (“[A]dding surveys cannot alone salvage implausible
claims.”); Podpeskar v. Dannon Co., No. 16-8478, 2017 WL 6001845, at *4 (S.D.N.Y. Dec. 3,
2017) (holding that the plaintiff’s reliance on a “variety of surveys” concerning whether consumers
viewed GMO crops as “natural” did not “meet Twombly’s insistence that claims be nudged over
the line from conceivable to plausible”).
7 See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (directing courts to apply their “judicial
experience and common sense” in ruling on motions to dismiss); see also Galanis v. Starbucks
Corp., No. 16-4705, 2016 WL 6037962, at *3 (N.D. Ill. Oct. 14, 2016) (applying “common sense”
to dismiss lawsuit alleging Starbucks misrepresented the amount of coffee in its iced beverages).



                                                18
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 26 of 33 PageID #:678




Notably, Plaintiffs do not assert that these statements are false—e.g., that Kraft Mac & Cheese

contains artificial flavors, dyes, or preservatives, or that it does not contain the taste consumers

love. Instead, they allege that these statements portray the products as “wholesome, safe, and

healthy” (words that do not appear on the packaging) and “lead[] reasonable consumers to believe

that the Products . . . do not contain dangerous chemicals or artificial substances, like phthalates.”

Id. This theory of deception is implausible.

       Although Plaintiffs assert consumer fraud claims under the laws of eleven different states,

those statutes all require Plaintiffs to establish that Kraft Heinz’s supposed misrepresentations are

likely to mislead a reasonable consumer. See, e.g., Beardsall v. CVS Pharmacy, Inc., 953 F.3d

969, 972 (7th Cir. 2020) (noting that the consumer fraud statutes of “twelve different states . . . all

require plaintiffs to prove that the relevant labels are likely to deceive reasonable consumers”);

&,6617 9# *43/02>; %24-,2 ))$, No. 19-2249, 2020 WL 4336390, at *2 (E.D.N.Y. July 20, 2020)

(“Although Plaintiffs allege violations of consumer protection statutes from forty states and the

District of Columbia, the parties agree that the critical issue for resolving this motion is whether a

reasonable consumer would be misled . . . .”). Here, Plaintiffs have not alleged that any statements

on the packaging of Kraft Mac & Cheese—including truthful statements like “NO Artificial Dyes”

and puffery statements like “The Taste You Love”—are likely to deceive a reasonable consumer.

And to the extent Plaintiffs purport to challenge any claims on Kraft Heinz’s website, they cannot

do so because they do not allege that they viewed, visited, or relied on the website.

       A. “The Taste You Love,” “Gooey, Cheesy Goodness,” and “The Part of Parenting
          That’s Impossible to Mess Up” are non-actionable puffery.

       Plaintiffs allege that the phrases “The Taste You Love” and “Gooey, Cheesy Goodness,”

which appear on the packaging of Kraft Mac & Cheese, are misleading because they “lead

reasonable consumers to believe that the Products are wholesome, safe, and healthy and do not



                                                  19
    Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 27 of 33 PageID #:679




contain dangerous chemicals, like phthalates.” CAC ¶¶ 51, 53. Plaintiffs also allege that the

statement “[t]he part of parenting that’s impossible to mess up,” which appears on Kraft Heinz’s

website, is misleading for the same reason. Id. ¶ 58. But these statements are puffery—i.e.,

“exaggerated advertising, blustering, and boasting upon which no reasonable buyer would rely.”

Adkins v. Nestle Purina PetCare Co., 973 F. Supp. 2d 905, 919 (N.D. Ill. 2013).8 Because “no

reasonable person could rely upon the representations as intended conveyances of fact,” these

puffery statements are “not actionable as a matter of law.” Thompson v. Procter & Gamble Co.,

No. 18-60107, 2018 WL 5113052, at *2 (S.D. Fla. Oct. 19, 2018); see Pappas v. Pella Corp., 363

Ill. App. 3d 795, 803 (2006) (“[M]ere puffery cannot form the basis of a consumer fraud claim.”).

       Here, there can be no dispute that the statement “The Taste You Love” constitutes puffery,

as representations about taste are, by definition, “not quantifiable, objective statements.” PETA v.

Whole Foods Mkt. Cal., Inc., No. 15-4301, 2016 WL 1642577, at *3 (N.D. Cal. Apr. 26, 2016)

(holding that “Great-Tasting Meat From Healthy Animals” and “Raised Right Tastes Right” were

puffery); see also, e.g., Lugones, 440 F. Supp. 3d at 241 (“Defendant’s advertising, ‘WE LOVE

OUR HENS, YOU’LL LOVE OUR EGGS,’ or more simply, ‘WE LOVE OUR HENS,’ . . . are

paradigmatic examples of puffery.”). It is similarly indisputable that “[t]he part of parenting that’s

impossible to mess up” is puffery because it is a “vague or general assertion of superiority.”

Notification Techs., Inc. v. Parlant Tech., Inc., No. 05-89, 2005 WL 8173034, at *3 (S.D. Cal. Jan.

27, 2005) (holding that the defendant’s statement that its product “gets parents involved” in their



8
  See also, e.g., Lugones v. Pete & Gerry’s Organic, LLC, 440 F. Supp. 3d 226, 241 (S.D.N.Y.
2020) (explaining that statements constituting puffery “‘do not provide any concrete
representations,’ but are instead ‘subjective claims about products, which cannot be proven either
true or false’”) (citations omitted); USA Nutraceuticals Grp., Inc. v. BPI Sports, LLC, No. 15-
80352, 2016 WL 4250668, at *2 (S.D. Fla. Apr. 12, 2016) (“Vague or highly subjective claims of
product superiority generally fall within the category of non-actionable puffery.”).



                                                 20
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 28 of 33 PageID #:680




children’s education was puffery). And the use of the phrase “gooey, cheesy goodness” is also

textbook puffery. See, e.g., Truxel v. Gen. Mills Sales, Inc., No. 16-4957, 2019 WL 3940956, at

*2 (N.D. Cal. Aug. 13, 2019) (holding that the phrase “a world of goodness,” as used on cereal

labeling, was non-actionable puffery); Weiss v. Kroger Co., No. 14-3780, 2014 WL 5114608, at

*3 (C.D. Cal. Aug. 8, 2014) (holding that “There’s a whole lot of goodness contained in each and

every tiny sunflower seed” was “highly subjective non-actionable puffery).            Regardless of

Plaintiffs’ subjective feelings about phthalates, these puffery statements are simply not actionable.

       B. The alleged presence of phthalates does not render the truthful “NO Artificial
          _____” statements on the packaging false or misleading.

       Plaintiffs also allege that the supposed trace amount of phthalates present in Kraft Mac &

Cheese makes it misleading for Kraft Heinz to claim that those products contain “NO Artificial

Preservatives,” “NO Artificial Flavors,” and “NO Artificial Dyes.” CAC ¶¶ 51–52. Plaintiffs do

not allege that these statements are false—or, in other words, that Kraft Mac & Cheese does contain

artificial preservatives, flavors, or dyes.    Rather, they suggest that these statements “lead

reasonable consumers to believe that the Products are wholesome, safe, and healthy, and do not

contain dangerous chemicals or artificial substances, like phthalates.” Id. ¶ 51. But this theory is

not viable, and courts across the country have made clear that the presence of an allegedly “bad”

substance does not prohibit a manufacturer from highlighting a product’s positive qualities.

       George v. Starbucks Corp. is directly on point. There, the plaintiffs alleged that Starbucks

misled consumers by claiming that its baked goods contained “no artificial dyes or flavors,” even

though it used a “powerful pesticide,” DDVP, to eliminate insects in its stores. No. 19-6185, 2020

WL 6802955, at *1–2 (S.D.N.Y. Nov. 19, 2020), aff’d, 857 F. App’x 705 (2d Cir. 2021). In

dismissing their lawsuit, the district court held that the presence of DDVP did not render the “no

artificial dyes or flavors” claim misleading, as “DDVP is not an artificial dye or flavor” and “[n]o



                                                 21
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 29 of 33 PageID #:681




reasonable consumer would understand that statement to convey any information about the

company’s use or non-use of pesticides in its stores.” Id. at *2. In affirming this ruling, the Second

Circuit agreed that “[n]o reasonable consumer would believe that these statements communicate

anything about the use of pesticides in Starbucks’s stores.” 857 F. App’x at 707.

       The glyphosate cases are also directly on point. In those cases, as here, the plaintiffs

attacked various labeling statements (such as “natural,” which does not appear on the labeling of

Kraft Mac & Cheese) as misleading because the challenged products contained trace amounts of

glyphosate. Court after court rejected this theory of deception. In Parks, for example, the court

held that the presence of glyphosate did not render the term “natural” misleading, as “a reasonable

consumer would not be so absolutist as to require that ‘natural’ means there is no glyphosate, even

an accidental and innocuous amount, in the Products.” 377 F. Supp. 3d at 247. In In re General

Mills, the court likewise held that the presence of glyphosate did not render the statement “Made

with 100% Natural Whole Grain Oats” misleading, as this statement does not “mean[] that there

is no trace glyphosate” in the product “or that a reasonable consumer would so interpret the label.”

2017 WL 2983877, at *6. And in Axon v. Citrus World, Inc., the court agreed that it was not

deceptive to “call a product ‘natural’ when it contains trace amounts of a commonly used pesticide

introduced early in the production process.” 354 F. Supp. 3d 170, 183 (E.D.N.Y. 2018).

       Here too, as in George, Parks, General Mills, and Axon, the alleged presence of trace

amounts of phthalates has no bearing on whether Kraft Mac & Cheese contains artificial flavors,

preservatives, or dyes. While Plaintiffs suggest that the “NO Artificial ____” statements contribute

to a general perception of healthiness (see CAC ¶¶ 51–52), that does not salvage Plaintiffs’ claims.

To the contrary, courts have repeatedly dismissed similar consumer fraud claims where the

plaintiff “alleges that a consumer will read a true statement on a package and will then . . . assume




                                                 22
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 30 of 33 PageID #:682




things about the products other than what the statement actually says.” Red v. Kraft Foods, Inc.,

No. 10-1028, 2012 WL 5504011, at *3 (C.D. Cal. Oct. 25, 2012). Absent any allegation that the

“NO Artificial _____” statements are in fact false, Plaintiffs have not stated a plausible claim.

        C. Plaintiffs cannot challenge the statements on Kraft Heinz’s website because they
           do not allege that they visited or relied on that website.

        In addition to challenging various statements on the packaging of Kraft Mac & Cheese,

Plaintiffs   also   take   issue   with    certain    statements   on    Kraft    Heinz’s    website,

kraftmacandcheese.com. In particular, Plaintiffs challenge two specific statements as misleading:

(1) Kraft Heinz’s statement that it “know[s] moms and dads trust Kraft Mac & Cheese as a quality,

tasty, and safe food for the family”; (2) Kraft Heinz’s statement that Kraft Mac & Cheese is “[t]he

part of parenting that’s impossible to mess up” because “Kraft Mac & Cheese is made with no

artificial flavors, preservatives, and dyes.”9 CAC ¶¶ 55–58. Leaving aside that these statements

are either puffery or factually accurate (see supra § III.A-B), these statements are not actionable

because Plaintiffs do not allege that they relied on—or even visited—this website.

        Indeed, courts have agreed that a plaintiff cannot sue a defendant for consumer fraud

“based on [a] website” when she “does not allege she ever saw the . . . claim on that website.”10


9
  Plaintiffs also note that Kraft Heinz’s website represents that Kraft Heinz acknowledges that
“phthalates may be introduced into certain products” and states that it is seeking to learn “if there
is anything else we can do to reduce or eliminate them.” CAC ¶¶ 9, 46, 55. Although Plaintiffs
claim that this statement constitutes an “admission” that the presence of phthalates is “information
a reasonable consumer would consider important,” that is flat-out-false. To the contrary, Kraft
Heinz’s website makes clear that “[t]he trace amounts of phthalates found in the one limited test
of mac & cheese are well below any level of concern”—or, in other words, that the presence of
trace amounts of phthalates should not be material to reasonable consumers. RJN Ex. 5.
10
   See also, e.g., Chavez v. Church & Dwight Co., No. 17-1948, 2018 WL 2238191, at *11 (N.D.
Ill. May 16, 2018) (“By failing to allege that he read the statements on [defendant’s] website, there
is no basis to conclude that [plaintiff] relied on them . . . or that they induced him to purchase the
ssupplement.”); Goldemberg v. Johnson & Johnson Consumer Cos., 8 F. Supp. 3d 467, 480
(S.D.N.Y. 2014) (“[I]f Plaintiff did not see the website and Facebook page beforehand, he could



                                                 23
   Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 31 of 33 PageID #:683




+50.846 9# *43/02>; '38<2" '3.#, 178 F. Supp. 3d 657, 666 (N.D. Ill. 201). Here too, because

Plaintiffs do not allege that they visited Kraft Heinz’s website before deciding to purchase Kraft

Mac & Cheese or that it played any role in their purchase, they cannot claim that the any statements

on website misled them. This Court should dismiss any claims premised on the website.

IV.    Plaintiffs’ Breach of Warranty and Unjust Enrichment Claims Also Fail.

       In addition to their consumer fraud claims, Plaintiffs assert claims for breach of express

warranty, breach of implied warranty, and unjust enrichment. See CAC ¶¶ 90–118. These claims

fail for the same reasons as Plaintiffs’ state-law consumer fraud claims.

       Unjust Enrichment. A claim for unjust enrichment “will stand or fall” with a plaintiff’s

substantive claims for consumer fraud. Cleary v. Philip Morris Inc., 656 F.3d 511, 517 (7th Cir.

2011). Absent any plausible allegation that Kraft Heinz made any actionable misrepresentations

or omissions, Plaintiffs cannot establish Kraft Heinz’s “acceptance and retention of the benefit

under circumstances that make it inequitable for [Kraft Heinz] to retain it without paying the value

thereof.” Rollins, Inc. v. Butland, 951 So. 2d 860, 876 (Fla. Dist. Ct. App. 2006); see Kennedy v.

Covidien, LP, No. 18-1907, 2019 WL 1429979, at *8 (S.D.N.Y. Mar. 29, 2019) (dismissing unjust

enrichment claim there the plaintiff did not plausibly allege that the defendant’s “product was

defective or that the sale was induced through a misrepresentation”).

       Breach of Express Warranty. When a plaintiff asserts that a defendant’s supposedly false

of advertising constitutes a breach of express warranty, she cannot prevail on that claim unless she

establishes that the advertising was likely to mislead a reasonable consumer. See, e.g., Kennedy

9# *43/02>; %24-,2 ))$, No. 19-302, 2020 WL 4006197, at *14 (E.D.N.Y July 10, 2020) (finding



not have been injured by them.”); Berry v. Budget Rent A Car Sys., Inc., 497 F. Supp. 2d 1361,
1367 n.4 (S.D. Fla. 2007) (ignoring allegations based on claims on website where complaint did
not allege that representations on website were “relied upon, or even viewed” by the plaintiffs).



                                                24
     Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 32 of 33 PageID #:684




that the standard for purposes of a breach of express warranty claim “is the same as that analyzed

under New York’s consumer protection law”); Brodsky v. Aldi Inc., No. 20-7632, 2021 WL

4439304, at *5 (N.D. Ill. Sept. 28, 2021) (dismissing breach-of-warranty claims where “a

reasonable consumer could not plausibly read the label as plaintiffs suggest”). Absent any

plausible allegation of deception, Plaintiffs cannot state a claim for breach of express warranty.11

        Breach of Implied Warranty. Like their breach of express warranty claim, Plaintiffs’ claim

for breach of the implied warranty of merchantability fails because Plaintiffs have not plausibly

alleged that the labeling of Kraft Mac & Cheese is deceptive or that the products are unfit for

consumption. The breach of implied warranty claim also fails because Plaintiffs are not in privity

with Kraft Heinz, as is required to state a breach of implied warranty claim.12 As Plaintiffs admit,

Kraft Mac & Cheese is sold through “numerous retail and online outlets”—and not sold directly

by Kraft Heinz to consumers. CAC ¶ 48. That forecloses any plausible allegation of privity.

                                          CONCLUSION

        This Court should dismiss Plaintiffs’ lawsuit without further leave to amend.




11
  To the extent Plaintiffs’ express warranty claim is premised on the alleged failure to disclose the
presence of phthalates, that claim also fails because a “breach of express warranty claim . . . cannot
be premised on an omission.” In re Gen. Motors Corp. Anti-Lock Brake Prods. Liab. Litig., 966
F. Supp. 1525, 1531 (E.D. Mo. 1997); see also Sidco Prods. Mktg., Inc. v. Gulf Oil Corp., 858
F.2d 1095, 1099 (5th Cir. 1988) (noting that omissions are “not affirmative representations of any
sort and thus cannot support a warranty claim, because express warranties must be explicit”).
12
   See Weiss v. Gen. Motors LLC, 418 F. Supp. 3d 1173, 1182 (S.D. Fla. 2019) (“Under Florida
law, a plaintiff cannot recover economic losses for breach of implied warranty in the absence of
privity.”); Manley, 417 F. Supp. 3d at 1121 (“[U]nder Illinois law, a claim for breach of implied
warranty . . . requir[es] privity of contract.”); Catalano v. BMW of N. Am., LLC, 167 F. Supp. 3d
540, 556 (S.D.N.Y. 2016) (noting that New York law “require[s] privity between a plaintiff and
defendant with respect to claims for breach of the implied warranties of merchantability and fitness
for a particular purpose where the only loss alleged is economic”).



                                                 25
 Case: 1:21-cv-01845 Document #: 63 Filed: 09/23/22 Page 33 of 33 PageID #:685




Dated: September 23, 2022                     Respectfully submitted,


                                              By: /s/ Dean N. Panos
                                                  Dean N. Panos (ARDC No. 6203600)
                                                  JENNER & BLOCK LLP
                                                  353 N. Clark Street
                                                  Chicago, IL 60654-3456
                                                  Telephone: (312) 923-2765
                                                  Facsimile: (312) 527-0484
                                                  dpanos@jenner.com

                                                  Attorneys for Defendant
                                                  The Kraft Heinz Company




                                      26
